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Attorneys for Defendants

                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF ALASKA

 ASSOCIATION OF VILLAGE COUNCIL
 PRESIDENTS,

                          Plaintiff,

 v.

 NEWHOUSE & VOGLER; JOSEPH LEE
 NEWHOUSE;    JAMES    ROBERT
 NEWHOUSE; AND STEPHEN ROBERT
 VOGLER,

                          Defendants.           Case No.: 4:19-cv-00002-TMB


                    STIPULATION FOR DISMISSAL WITH PREJUDICE

             COME NOW, the parties, by and through their respective counsel of record,

pursuant to Federal R. Civ. P. 41(a)(2), hereby stipulate and agree that the entirety of this

lawsuit is dismissed, with prejudice, each party to bear their own costs, interest, and

attorney fees.




{00907700}

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DATED: July 8, 2019                   JERMAIN DUNNAGAN & OWENS, P.C.
                                      Attorneys for Defendants


                                      By: /s/ William M. Wuestenfeld
                                              William M. Wuestenfeld
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                                      By: /s/ Megan N. Sandone
                                              Megan N. Sandone
                                              Alaska Bar No. 1005026


DATED: July 8, 2019                   KILPATRICK TOWNSEND & STOCKTON, LLP
                                      Attorneys for Plaintiff


                                      By: /s/ John R. Neeleman
                                              John R. Neeleman
                                              Alaska Bar No. 8611127


                                             ORDER

IT IS SO ORDERED.


Dated: _____________________                  ______________________________
                                              Honorable Timothy M. Burgess
                                              United States District Court Judge




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CERTIFICATE OF SERVICE:

This is to certify that a true and
correct copy of the foregoing was
served by E-Service using CM/ECF System
on July 8, 2019, to:

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